Case 1:23-cv-21626-RNS Document 4 Entered on FLSD Docket 05/02/2023 Page 1 of 2




                           United States District Court
                                     for the
                           Southern District of Florida

  Isabela Poubel Chieppe, and            )
  others, Plaintiffs,                    )
                                         )
  v.                                     )
                                           Civil Action No. 23-21626-Civ-Scola
                                         )
  Merrick P. Garland, Attorney           )
  General of the United States, and      )
  others, Defendants.                    )
                    Order Requiring Scheduling Conference
        This matter is before the Court upon an independent review of the
 record. The Plaintiffs seek mandamus, declaratory, injunctive, and other relief
 regarding their EB-5 and Forms I-485, I-526, and I-529 Petitions. The parties
 must comply with the following instructions:
    1. The Plaintiff must forward a copy of this order to every Defendant
 immediately upon the filing of any appearance by a Defendant in this case.
    2. Within 14 days of the filing of a response to the complaint by a
 Defendant in this matter, the parties must meet and confer regarding discovery
 and scheduling issues. The parties must meet and confer regardless of whether
 either party believes this matter to be exempt from the requirements of Federal
 Rule of Civil Procedure 26(f) and Local Rule 16.1(b).
    3. Within 14 days of the parties’ discovery and scheduling conference, the
 parties must file a joint conference report advising the Court of the parties’
 proposed plan and timeline for resolving this matter. For example, if the parties
 agree that this matter should be resolved by the Court upon a review of the
 administrative record only, the parties must state this plan and propose
 deadlines for the filing of dispositive motions. If the parties cannot agree how
 this matter should proceed, each party must state their individual plan and
 timeline, but must also include a memorandum of law to support their position.
    4. Alternatively, if the parties believe this matter should proceed under the
 requirements of Federal Rule of Civil Procedure 26(f) and Local Rule 16.1(b),
 then the parties must file a joint discovery plan and conference report,
 consistent with Rule 26(f)(3) and Local Rule 16.1(b)(2), within 14 days of the
 parties’ discovery and scheduling conference.
    5. Where there are multiple Plaintiffs or Defendants, the parties must file
 joint motions and consolidated responses and replies unless there are clear
 conflicts of position. If conflicts of position exist, the parties must explain the
 conflicts in their separate filings.
Case 1:23-cv-21626-RNS Document 4 Entered on FLSD Docket 05/02/2023 Page 2 of 2




       Done and ordered in Miami, Florida, on May 2, 2023.

                                          ________________________________
                                          Robert N. Scola, Jr.
                                          United States District Judge
